Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 1 of 25




                        Exhibit 6

             Docket Sheet and Complaint
   Isom v. Johnson & Johnson Consumer Inc., et al.,
             No 2:23-cv-04200 (W.D. Mo.)
        Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 2 of 25

                                                                                              MAPNII
                                  U.S. District Court
                      Western District of Missouri (Jefferson City)
                   CIVIL DOCKET FOR CASE #: 2:23−cv−04200−BCW

Isom v. Johnson & Johnson Consumer Inc. et al               Date Filed: 10/12/2023
Assigned to: District Judge Brian C. Wimes                  Jury Demand: Plaintiff
Demand: $5,000,000                                          Nature of Suit: 370 Other Fraud
Cause: 28:1332 Diversity−(Citizenship)                      Jurisdiction: Diversity
Plaintiff
Andrew Isom                                     represented by Aaron W. Smith
individually and, on behalf of those                           A. W. Smith Law Firm PC
similarly situated                                             2100 West Broadway
                                                               Columbia, MO 65203
                                                               (573) 777−3333
                                                               Fax: (573) 443−7301
                                                               Email: aw@awsmithlaw.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Ethan Charles Duckworth
                                                             The A.W. Smith Law Firm, P.C.
                                                             2100 West Broadway
                                                             Suite 500
                                                             Columbia, MO 65203
                                                             573−777−3333
                                                             Fax: 573−443−7301
                                                             Email: ec@awsmithlaw.com
                                                             ATTORNEY TO BE NOTICED

                                                             Kelly Wallis
                                                             Kespohl, McCrary, & Corenjo, L.L.C.
                                                             1103 E. Walnut St.
                                                             Columbia, MO 65201
                                                             (573) 443−2889
                                                             Fax: (573) 443−3889
                                                             Email: kelly@awsmithlaw.com
                                                             ATTORNEY TO BE NOTICED


V.
Defendant
Johnson & Johnson Consumer Inc.

Defendant
Kenvue Inc.

Defendant
Procter & Gamble Co.

Defendant
Reckitt Benckiser LLC

Defendant
Wal−Mart Stores East 1, LP

Defendant
Wal−Mart, Inc.
       Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 3 of 25


Date Filed   #   Docket Text
10/12/2023   1 COMPLAINT against All Defendants filed by Aaron W. Smith on behalf of Andrew
               Isom. Filing fee $402, receipt number AMOWDC−8667258. Service due by 1/10/2024
               unless otherwise directed by the court.(Smith, Aaron)# 1 Civil Cover Sheet) Modified
               on 10/13/2023 main document 1 replaced and exhibit added to correct filing oversight.
               NEF regenerated to all parties. (Entered: 10/12/2023)
10/13/2023   2 NOTICE OF INCLUSION FOR MEDIATION AND ASSESSMENT
               PROGRAM (MAP). REVIEW NOTICE AND MAP GENERAL ORDER
               CAREFULLY FOR IMPORTANT CHANGES, DEADLINES AND
               REQUIREMENTS.

                 Notice of MAP assignment to outside neutral category II. (Attachments: # 1 MAP
                 General Order)(Berner, Crystal) (Entered: 10/13/2023)
10/12/23, 5:11 PM       Case MDL No. 3089 DocumentMissouri
                                                   233-8Western
                                                           FiledCivil10/25/23
                                                                      Cover Sheet Page 4 of 25

  JS 44 (Rev 09/10)


                                          UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF MISSOURI
                                                          CIVIL COVER SHEET
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the Western District of Missouri.

  The completed cover sheet must be saved as a pdf document and filed as an attachment to the Complaint
  or Notice of Removal.

  Plaintiff(s):                                                     Defendant(s):
  First Listed Plaintiff:                                           First Listed Defendant:
  Andrew Isom ;                                                     Johnson & Johnson Consumer, Inc. ;
  1 Citizen of This State;                                          2 Citizen of Another State; New Jersey
  County of Residence: Boone County                                 County of Residence: Outside This District

                                                                    Additional Defendants(s):
                                                                    Kenvue, Inc. ;
                                                                    2 Citizen of Another State; New Jersey

                                                                    Procter & Gamble Company ;
                                                                    2 Citizen of Another State; Ohio

                                                                    Reckitt Benckiser LLC ;
                                                                    2 Citizen of Another State; New Jersey

                                                                    Wal-Mart Stores East 1, LP ;
                                                                    2 Citizen of Another State; Arkansas

                                                                    Wal-Mart, Inc. ;
                                                                    2 Citizen of Another State; Arkansas


  County Where Claim For Relief Arose: Boone County

  Plaintiff's Attorney(s):                                          Defendant's Attorney(s):
  Aaron Smith (Andrew Isom)
  The AW Smith Law Firm
  2100 W Broadway
  Columbia, Missouri 65203
  Phone: 573-777-3333
  Fax: 573-443-7301
  Email: aw@awsmithlaw.com

  Kelly Wallis (Andrew Isom)
  The AW Smith Law Firm
  2100 West Broadway
  Columbia, Missouri 65203
  Phone: 573-777-3333
  Fax: 573-443-7301
  Email: kelly@awsmithlaw.com

                       Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 1 of 22
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10/12/23, 5:11 PM           Case MDL No. 3089 DocumentMissouri
                                                       233-8Western
                                                               FiledCivil10/25/23
                                                                          Cover Sheet Page 5 of 25
  Ethan Duckworth (Andrew Isom)
  The AW Smith Law Firm
  2100 West Broadway
  Columbia, Missouri 65203
  Phone: 573-777-3333
  Fax: 573-443-7301
  Email: ec@awsmithlaw.com


  Basis of Jurisdiction: 4. Diversity of Citizenship

  Citizenship of Principal Parties (Diversity Cases Only)
       Plaintiff: 1 Citizen of This State
       Defendant: 2 Citizen of Another State


  Origin: 1. Original Proceeding

  Nature of Suit: 370 Fraud Actions
  Cause of Action: 28 USC 1332 consumer class action to recover purchase price
  Requested in Complaint
       Class Action: Class Action Under FRCP23
       Monetary Demand (in Thousands): 5000
       Jury Demand: Yes
       Related Cases: RELATED to case number 4:23-cv-00663, assigned to Judge FJG



  Signature: Aaron W Smith

  Date: 10/12/2023
          If any of this information is incorrect, please close this window and go back to the Civil Cover Sheet Input form to make the correction and generate the updated
          JS44. Once corrected, print this form, sign and date it, and submit it with your new civil action.




                           Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 2 of 22
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            Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 6 of 25




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

ANDREW ISOM, individually and,
                           )
on behalf of those similarly situated,
                           )
                           )
      Plaintiff,           )
                           )
v.                         )                             Case No.
                           )
JOHNSON & JOHNSON CONSUMER )
INC.,                      )
                           )
KENVUE, INC.,              )                             JURY TRIAL REQUESTED
                           )
RECKITT BENCKISER LLC,     )
                           )
PROCTER & GAMBLE,          )
                           )
WAL-MART, INC.             )
                           )
WAL-MART STORES EAST 1, LP )
                           )
      Defendants.          )

                                          COMPLAINT

       Plaintiff Andrew Isom, on behalf of himself and all others similarly situated, by and

through the undersigned counsel, for his causes of action against Defendants Johnson & Johnson

Consumer Inc. (“J&J”), Kenvue, Inc. (“KI”), Reckitt Benckiser LLC (“RB”), Procter & Gamble

(“P&G”), Wal-Mart Stores East 1, LP and Wal-Mart, Inc. (collectively “Defendants”), and upon

information and belief, states and alleges as follows:

                                            PARTIES

       1.      Plaintiff Andrew Isom (“Plaintiff”), at all times relevant hereto, was and is a citizen

and resident of Missouri who purchased products identified below from Defendants in Missouri

and was harmed by Defendants in Missouri.



                                                 1

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 3 of 22
            Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 7 of 25




       2.      Defendant Johnson & Johnson Consumer Inc. (“J&J”), a McNeil Consumer

Healthcare Division, is a New Jersey corporation with its headquarters and principal place of

business at 199 Grandview Road, Skillman, New Jersey, 08558. J&J is available for service of

process at CSC-Lawyers Incorporating Service Company, 221 Bolivar, Jefferson City, Missouri

65101. J&J manufactures, markets, advertises, labels, distributes, and sells phenylephrine products

under its Sudafed and Benadryl product lines.

       3.      Defendant Kenvue Inc. (“Kenvue”) is a Delaware consumer health company, and

formerly the consumer healthcare division of Johnson & Johnson. Kenvue is headquartered in

Skillman, New Jersey. During the class period defined below, Kenvue acquired McNeil Consumer

Healthcare. Kenvue is available for service of process at 199 Grandview Rd., Skillman, New

Jersey, 08558, United States.

       4.      Defendant Procter & Gamble Company (“P&G”) is an Ohio corporation with its

headquarters and principal place of business at One Procter & Gamble Plaza, Cincinnati, Ohio

45202. Procter & Gamble is available for service at CT Corporation System, 120 South Central

Ave., Clayton, Missouri 63105. P&G manufactures, markets, advertises, labels, distributes, and

sells phenylephrine products under its Vicks Nyquil product line.

       5.      Defendant Reckitt Benckiser LLC (“Reckitt”) is a Delaware limited liability

corporation with its headquarters and principal place of business located in Parsippany, New

Jersey. Reckitt is a wholly owned subsidiary of Reckitt Benckiser Group PLC, a public limited

company registered in England and Wales. Reckitt is available for service at CSC-Lawyers

Incorporating Service Company, 221 Bolivar, Jefferson City, Missouri 65101. Reckitt

manufactures, markets, advertises, labels, distributes, and sells phenylephrine products under its

Mucinex product line.



                                                2

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 4 of 22
            Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 8 of 25




       6.      Wal-Mart Stores East 1, LP is a Delaware limited partnership with its principal

place of business located in Bentonville, Arkansas, and registered to transact business in Missouri.

Wal-Mart Stores East 1, LP is available for service at CT Corporation System, 120 South Central

Ave., Clayton, Missouri 63105.

       7.      Wal-Mart, Inc. is a Delaware corporation with its principal place of business located

in Bentonville, Arkansas, and registered to transact business in Missouri. Wal-Mart, Inc. is

available for service at CT Corporation System, 120 South Central Ave., Clayton, Missouri 63105.

Wal-Mart Stores East 1, LP and Wal-Mart, Inc. are hereinafter sometimes collectively referred to

as “Wal-Mart.” Wal-Mart markets, advertises, labels, distributes, and sells phenylephrine products

under its Equate product line.

       8.      Defendants J&J, Kenvue, P&G, Reckitt and Wal-Mart are hereinafter sometimes

collectively referred to as “Defendants.”

                                 JURISDICTION AND VENUE

       9.      This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2). The matter

in controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs, and is a

class action in which there are in excess of 100 class members. Plaintiff is a citizen of a state

different from Defendants.

       10.     This Court has jurisdiction over each Defendant because all Defendants are

authorized to conduct business in Missouri and/or within the long-arm jurisdiction of the Court

because Defendants have marketed, promoted, distributed, and sold the Products in Missouri.

Defendants knew and understood that the Products would be marketed, distributed and advertised

to consumers in Missouri. Accordingly, this Court may exercise jurisdiction over Defendants

because Defendants have sufficient minimum contacts with this State and/or sufficiently availed



                                                 3

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 5 of 22
          Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 9 of 25




themselves of the markets in this State through promotion, sales, distribution and marketing the

Products within this State.

        11.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) and (b) because a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred while he

resided in this judicial district. Venue is also proper under 18 U.S.C. §1965(a) because Defendants

transact substantial business in this District.

                FACTUAL ALLEGATIONS RELEVANT TO ALL COUNTS

                                             Introduction

        12.     This is a class action lawsuit brought on behalf of consumers who purchased

Defendants’ over-the counter (“OTC”) decongestant products containing phenylephrine (i.e., the

“Products”).

        13.     Within the Class Period defined below, Plaintiff purchased in Missouri the

following products for personal and household use to relieve congestion associated with a cold:

Sudafed PE, Vick's DayQuil Vick's Nyquil Cold & Flu, Vicks Nyquil Severe Cold & Flu, Vicks

Nyquil Cold + Flu plus Congestion, Mucinex Sinus Max, and Wal-Mart Equate Products.

        14.     During the Class Period, based on the false and misleading claims by Defendants,

Plaintiff was unaware that Defendants’ oral decongestant Products were not an effective remedy

for congestion and/or cold symptoms. None of these products was effective in relieving

congestion.

        15.     Plaintiff purchased Defendants’ Products on the assumption that the labeling of the

Products was accurate and that the Products worked as advertised. Plaintiff would not have

purchased Defendants’ Products had he known they were not effective and lacked the ability to

provide relief for congestion and/or cold symptoms as marketed by Defendants. As a result,



                                                  4

          Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 6 of 22
            Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 10 of 25




Plaintiff suffered injury in fact when he spent money to purchase Products he would not otherwise

have purchased absent Defendants’ misconduct, as alleged herein.

          16.     Plaintiff continues to be exposed to Defendants’ marketing materials for these

ineffective Products. Plaintiff continues to encounter the Products on display for sale to consumers

at retail businesses where he regularly shops. Plaintiff would purchase Defendants’ Products again

in the future if he were assured that Defendants’ Products had been reformulated using GRASE

ingredients that are proven effective for decongestant relief as advertised by Defendants.

                                              The Products

          17.     The Products are manufactured, sold, and distributed by Defendants and have been

found by the U.S. Food and Drug Administration (“FDA”) to lack efficacy.

          18.     Defendants have long been aware of the lack of efficacy but have continued to sell

the Products.

          19.     The Products’ lack of efficacy was not disclosed to Plaintiff prior to Plaintiff’s

purchase of the Products. Plaintiff would not have purchased the Products had he known they did

not work as advertised. Plaintiff and the putative class suffered economic damages due to

Defendants’ misconduct (as set forth below). They seek injunctive relief and restitution for the full

purchase price of the Products they purchased.

          20.     Defendants marketed and sold the Products to consumers in Missouri including to

Plaintiff Andrew Isom, and across the United States as an effective nasal decongestant.

          21.     The primary “active ingredient” in the Products is phenylephrine hydrochloride

(“PE” or “phenylephrine”). However, “[n]o support has been found in the literature in the public

domain for the efficacy of PE as a nasal decongestant when administered orally.”1



1
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2000711/ (last viewed Sept. 21, 2023).

                                                    5

            Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 7 of 22
         Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 11 of 25




       22.     Sales of the Products are substantial, more than 242 million packages or bottles of

phenylephrine products were sold in 2022, resulting in $1.76 billion in sales.

       23.     The FDA has previously designated PE as generally recognized as safe and

effective (“GRASE”), despite the lack of peer-reviewed scientific evidence to support PE’s

efficacy as an oral decongestant. However, after a two-day meeting on September 11-12, 2023,

the FDA concluded that the scientific data do not support a GRASE designation for PE as an

ingredient in cough and cold OTC medications.

       24.     An FDA GRASE designation permits pharmaceutical products companies (like

Defendants) to market products (like Sudafed PE, Vicks NyQuil, Mucinex and Equate) that contain

GRASE ingredients directly to consumers as OTC medications.

       25.     OTC medicines do not require a prescription and are typically freely available from

many kinds of retailers. In the United States alone, “there are more than 750,000 retail outlets that

sell OTC products.”2

       26.     In 2022, PE versions of oral cough and cold decongestant OTC medications

accounted for about 80% of “the $2.2 billion market,” while PDE versions made up the other 20%.3

                            Defendants’ Marketing and Sales Practices

       27.      For years, Defendants have advertised, and continue to advertise, PE as an

effective decongestant that relieves nasal congestion and sinus pressure associated with colds,

allergies, and other respiratory conditions, even though Defendants knew or should have known

that the current scientific data demonstrate that oral PE is ineffective as a nasal decongestant.


2
  https://www.chpa.org/about-consumer-healthcare/research-data/otc-sales-statistics (last visited
Sept. 21, 2023).
3
  https://www.pbs.org/newshour/health/popular-nasal-decongestant-doesnt-actually-relieve-congestion-
fda-advisers-
say#:~:text=WASHINGTON%20(AP)%20%E2%80%94%20The%20leading,the%20long%2Dquestione
d%20drug%20ingredient (last viewed Sept. 21, 2023).

                                                  6

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 8 of 22
         Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 12 of 25




       28.      As a result of its aggressive and misleading marketing tactics, Defendants’ Products

“generated nearly $1.8 billion in sales last year alone.”4

       29.      According to Defendants, phenylephrine works by constricting blood vessels in the

nasal passages, which reduces swelling and congestion. Over the many years preceding the filing

of this Complaint, Defendants have made extensive claims in their marketing materials concerning

the efficacy of their Products.

       30.      For Sudafed PE Products, these claims include:

             a. Relief from Nasal Congestion: Sudafed PE products provide relief from nasal
                congestion associated with colds, allergies, or sinus congestion.

             b. Fast-Acting: Some Sudafed PE products are fast-acting and provide rapid relief
                from congestion symptoms.

             c. 24-Hour Relief: Sudafed PE provides up to 24 hours of relief from congestion
                symptoms, reducing the need for frequent dosing.

             d. Sinus Pressure Relief: Sudafed PE is highly effective in relieving sinus pressure in
                addition to congestion.

             e. Sudafed PE offers relief from multiple cold and allergy symptoms, such as nasal
                congestion, sinus pressure, sneezing, and runny nose.

       31.      For Vicks Nyquil Products, these claims include:

             a. fast, powerful, maximum strength 9-symptom relief to treat… stuffy nose…sinus
                congestion.

             b. Proven relief for your worst cold and flu symptoms.

             c. Effective cold and flu symptom relief.

             d. The congestion, pressure & pain, clear your head, medicine.

             e. Fast Relief- Clear your head with fast acting nighttime relief.

             f. Powerful congestion, pressure and pain relief.



4
  https://www.cnn.com/2023/09/12/health/phenylephrine-tablets-ineffective-fda-panel-says/index.html
(last viewed Sept. 21, 2023).

                                                  7

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 9 of 22
          Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 13 of 25




              g. Maximum strength sinus relief.

              h. Fast, powerful cold and congestion relief.

        32.      For Mucinex Products, these claims include:

              a. Clears sinus congestion.

              b. Relieve sinus pressure.

              c. Starts to break up Sinus Symptoms with Just 1 Dose.

              d. 3 maximum strength medicines help thin and loosen mucus, clear nasal passages
                 and sinus congestion.

        33.      For Equate Products, these claims include:

              a. Relief for nasal and sinus congestion.

              b. Powerful relief for sinus pressure due to the common cold.

              c. Fast, maximum strength relief from your sinus pressure.

                                      PE’s GRASE Designation

        34.      The FDA “first approved phenylephrine as a safe and effective [OTC] decongestant

in the 1970s.”5 In 1994, the FDA issued a final monograph establishing conditions under which

OTC nasal decongestant drug products are generally recognized as safe and effective (“GRASE”)

and not misbranded. Phenylephrine is included in the final monograph as an OTC oral nasal

decongestant.6

        35.      In or around 2007, “researchers at the University of Florida petitioned the

government to examine” the use of phenylephrine in popular OTC cold medications, “arguing that

there is little evidence the reformulated products [containing PE instead of PDE] work in adults or



5
  https://www.cato.org/blog/after-50-years-fda-finds-out-oral-phenylephrine-doesnt-
work#:~:text=The%20FDA%20first%20approved%20phenylephrine (last viewed Sept. 21, 2023).
6
  Phenylephrine “was approved by the FDA based on in-house studies provided by pharmaceutical
companies, not as a result of clinical trials.” https://www.drugs.com/medical-answers/differencebetween-
phenylephrine-pe-3509033/ (last viewed Sept. 21, 2023).

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         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 10 of 22
          Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 14 of 25




are safe in children.”7 In response, the FDA held a meeting where it “ask[ed] a panel of outside

experts whether new formulations of Sudafed and other [OTC] cold medications actually relieve

nasal congestion.”8

        36.     At this 2007 meeting, the “advisory panel told the FDA that evidence oral

phenylephrine worked was ‘murky’ and ‘not definitive’ and recommended further study.”9

Nevertheless, upon the conclusion of the 2007 meeting, the FDA determined phenylephrine to be

GRASE, but with a clear caveat—specifically, the “FDA allowed the [OTC phenylephrine-

containing] products to remain on the market pending additional research.”10 To reiterate, PE

“was approved by the FDA based not on results from clinical trials, but studies conducted by

pharmaceutical companies themselves.”11

                       The FDA’s Nonprescription Drug Advisory Committee

        37.     In 2023, the FDA’s Nonprescription Drug Advisory Committee (“NDAC”) issued

a new report detailing the efficacy (or, rather, lack thereof) of oral PE “as an active ingredient in

[OTC] cough and cold products.”12

        38.     During the NDAC’s two-day meeting on September 11th and 12th, 2023, it

revisited studies it initially reviewed in 2007, and considered additional studies obtained since that

time. This two-day meeting was “prompted by” the “same [University of Florida] researchers who




7
  https://www.nbcnews.com/health/health-news/fda-panel-study-reformulated-cold-medsflna1c9464568
(last viewed Sept. 21, 2023).
8
  Id.
9
  https://www.cato.org/blog/after-50-years-fda-finds-out-oral-phenylephrine-doesnt-
work#:~:text=The%20FDA%20first%20approved%20phenylephrine (last viewed Sept. 21, 2023).
10
   https://www.pbs.org/newshour/health/popular-nasal-decongestant-doesnt-actually-relieve-congestion-
fda-advisers-say (last viewed Sept. 21, 2023) (emphasis added).
11
   https://www.usatoday.com/story/news/health/2023/09/12/fda-panel-declares-
decongestantphenylephrine-ineffective/70835249007/ (last viewed Sept. 21, 2023).
12
   https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-committee-
meeting-oral-phenylephrine (last viewed Sept. 21, 2023).

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         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 11 of 22
         Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 15 of 25




challenged [PE’s] effectiveness in 2007.”13 These researchers again “petitioned the FDA to remove

most [PE] products based on recent studies showing [PE products] failed to outperform placebo

pills in patients with cold and allergy congestion.”14

       39.     Based upon its review of past and new data, the NDAC unanimously concluded that

the “scientific data do not support [its previous conclusion, based on data supplied by

pharmaceutical companies] that the recommended dosage of orally administered phenylephrine is

effective as a nasal decongestant.”15 The NDAC of the FDA highlighted fatal flaws in the studies

it previously relied upon in 2007, explaining that, “all of the studies (both positive and negative)

were highly problematic in both design and methodology.” The NDAC also mentioned a 2017-

2018 study conducted by Defendant J&J that suggested that oral PE products have “no beneficial

effect when compared with [a] placebo.”

       40.     For these and other reasons, the NDAC unanimously declared on September 12,

2023, that phenylephrine, the active ingredient in the Products, is an ineffective decongestant.

       41.     The NDAC’s 2023 report is supported by large clinical trials disproving PE’s

efficacy. Those studies provide evidence of the absence of a decongestant effect from the OTC

approved doses of 10 mg. The results of several studies, reported after 2007, clearly demonstrate

that PE is no more effective than placebo in decreasing nasal congestion and, thus, lacks efficacy.

                                      Defendants’ Knowledge

       42.     As of 2007, nasal airway resistance (“NAR”) was the principal methodology used

to assess the effectiveness of oral PE. This methodology used measurements of airflow and air




13
   https://www.pbs.org/newshour/health/popular-nasal-decongestant-doesnt-actually-relieve-congestion-
fda-advisers-say (last viewed Sept. 21, 2023).
14
   Id.
15
   Id.

                                                  10

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 12 of 22
          Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 16 of 25




pressure in the nasal passage to calculate NAR as an indirect measure of the level of nasal

congestion.

        43.     However, in 2018, the FDA issued new guidance for industry as it related to the

use of nasal congestion symptom scores to evaluate congestion, meaning that NAR was no longer

used as a primary endpoint to evaluate congestion in studies.

        44.     Based on the FDA’s new 2018 guidance, Defendants knew or should have known

that their marketing claims regarding the Products’ efficacy were false and misleading. This is

because the primary endpoint for evaluating the efficacy of the Products had changed since the

FDA’s 2007 NDAC meeting, meaning that the previous data under which the Products were

approved as GRASE no longer supported efficacy.

        45.     Additionally, Defendants—as manufacturers of OTC PE-based Products—knew or

should have known that there have been no published studies since the FDA’s revised 2008

guidance for the industry released which demonstrate the effectiveness of oral PE as a

decongestant. Rather, the body of scientific literature has consistently shown oral PE to be

clinically ineffective.

        46.     Accordingly, Defendants knew or should have known by at least 2018 that their

marketing claims regarding the Products’ efficacy were false and misleading. Additionally,

consumers routinely reported that such products lacked efficacy via consumer complaints

submitted, inter alia, on the Defendants’ own websites.

        47.     Plaintiff and the class members purchased the Products in reliance on Defendants’

false and deceptive marketing claims.

        48.     As a result of Defendants’ false and deceptive marketing, Plaintiff and the class

members suffered economic damages, including the cost of purchasing the Products.



                                               11

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 13 of 22
           Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 17 of 25




                                                  Tolling

          49.   Plaintiff did not discover and could not have discovered through the exercise of

reasonable diligence, the existence of the claims sued upon herein until immediately prior to

commencing this civil action.

          50.   Any applicable statutes of limitation have been tolled by Defendants’ affirmative

acts of fraudulent concealment and continuing misrepresentations, as the facts alleged above

reveal.

          51.   Because of the self-concealing nature of Defendants’ actions and their affirmative

acts of concealment, Plaintiff and the Classes assert the tolling of any applicable statutes of

limitations affecting the claims raised herein.

          52.   Defendants continue to engage in the deceptive practice, and consequently, unwary

consumers are injured on a daily basis by Defendants’ unlawful conduct. Therefore, Plaintiff and

the Classes submit that each instance that Defendants engaged in the conduct complained of herein

and each instance that a member of any Class purchased Defendants’ Product constitutes part of a

continuing violation and operates to toll the statutes of limitation in this action.

          53.   Defendants are estopped from relying on any statute of limitations defense because

of their unfair or deceptive conduct.

          54.   Defendants’ conduct was and is, by its nature, self-concealing. Still, Defendants,

through a series of affirmative acts or omissions, suppressed the dissemination of truthful

information regarding their illegal conduct, and actively have foreclosed Plaintiff and the Classes

from learning of their illegal, unfair, and/or deceptive acts.

          55.   By reason of the foregoing, the claims of Plaintiff and the Classes are timely under

any applicable statute of limitations, pursuant to the discovery rule, the equitable tolling doctrine,

and fraudulent concealment.
                                                    12

           Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 14 of 22
            Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 18 of 25




                                     CLASS ALLEGATIONS

       56.      Plaintiff brings this action on behalf of himself and all other similarly situated class

members (the “Class” or “Classes”) pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal Rules

of Civil Procedure and seeks certification of the following classes and subclasses against

Defendants:

       a.       All persons who purchased an oral nasal decongestant containing phenylephrine
                manufactured by Defendant Johnson & Johnson in the United States (the “Johnson
                & Johnson Nationwide Class”);

       b.       All persons in the State of Missouri who purchased an oral nasal decongestant
                containing phenylephrine manufactured by Defendant Johnson & Johnson (the
                “Johnson & Johnson Missouri Subclass”);

       c.       All persons in the State of Kansas who purchased an oral nasal decongestant
                containing phenylephrine manufactured by Defendant Johnson & Johnson (the
                “Johnson & Johnson Kansas Subclass”);

       d.       All persons who purchased an oral nasal decongestant containing phenylephrine
                manufactured by Defendant Reckitt Benckiser in the United States (the “Reckitt
                Nationwide Class”).

       e.       All persons in the State of Missouri who purchased an oral nasal decongestant
                containing phenylephrine manufactured by Defendant Reckitt Benckiser (the
                “Reckitt Missouri Subclass”).

       f.       All persons who purchased an oral nasal decongestant containing phenylephrine
                manufactured by Defendant Kenvue in the United States (the “Kenvue Nationwide
                Class”).

       g.       All persons in the State of Missouri who purchased an oral nasal decongestant
                containing phenylephrine manufactured by Defendant Kenvue (the “Kenvue
                Missouri Subclass”).

       h.       All persons who purchased an oral nasal decongestant containing phenylephrine
                manufactured by Defendant Procter& Gamble in the United States (the “Procter &
                Gamble Nationwide Class”).

       i.       All persons in the State of Missouri who purchased an oral nasal decongestant
                containing phenylephrine manufactured by Defendant Procter& Gamble (the
                “Procter & Gamble Missouri Subclass”).




                                                  13

        Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 15 of 22
             Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 19 of 25




        j.       All persons who purchased an oral nasal decongestant containing phenylephrine
                 manufactured by Defendant Wal-Mart in the United States (the “Wal-Mart
                 Nationwide Class”).

        k.       All persons in the State of Missouri who purchased an oral nasal decongestant
                 containing phenylephrine manufactured by Defendant Wal-Mart (the “Wal-Mart
                 Missouri Subclass”).

        57.      Plaintiff reserves the right to amend the class definitions as appropriate, as the case

proceeds.

        58.      The members of the classes are so numerous that joinder of all members of the

classes is impracticable. Plaintiff is informed and believes that the proposed class/sub-classes

contain thousands of purchasers of Defendants’ Products who have been damaged by Defendants’

conduct as alleged herein. The precise number of class members is unknown to Plaintiff at this

time.

        59.      Plaintiff’s claims are typical to those of all class members because members of the

classes are similarly injured through Defendants’ uniform misconduct described above and were

subject to Defendants’ deceptive marketing claims that accompanied each and every Product.

Plaintiff is advancing the same claims and legal theories on behalf of all members of the classes

and sub-classes.

        60.      Plaintiff’s claims raise questions of law and fact common to all members of the

classes, and they predominate over any questions affecting only individual class members. The

claims of Plaintiff and all prospective class members involve the same alleged defect. These

common legal and factual questions include the following:

              a. whether Defendants’ Products contained phenylephrine;

              b. whether Defendants’ marketing statements are false, misleading, or objectively
                 reasonably likely to deceive;

              c. whether the alleged conduct constitutes violations of the laws asserted;


                                                   14

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 16 of 22
          Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 20 of 25




             d. whether Defendants’ alleged conduct violates public policy;

             e. whether Defendants engaged in false or misleading advertising;

             f. whether Defendants were unjustly enriched as a result of its labeling, marketing,
                advertising and/or selling of the Products;

             g. whether Plaintiff and the Class members are entitled to damages and/or restitution
                and the proper measure of that loss; and

             h. whether an injunction is necessary to prevent Defendants from continuing to market
                and sell Products that lack efficacy.

       61.      Plaintiff and his counsel will fairly and adequately protect and represent the

interests of each member of the class. Plaintiff has retained counsel experienced in complex

litigation and class actions. Plaintiff’s counsel has successfully litigated other class action cases

similar to that here and have the resources and abilities to fully litigate and protect the interests of

the class. Plaintiff intends to prosecute this claim vigorously. Plaintiff has no adverse or

antagonistic interests to those of the Class, nor is Plaintiff subject to any unique defenses.

       62.      A class action is superior to the other available methods for a fair and efficient

adjudication of this controversy. The damages or other financial detriment suffered by the Plaintiff

and individual class members is relatively small compared to the burden and expense that would

be entailed by individual litigation of their claims against Defendants. It would thus be virtually

impossible for Plaintiff and class members, on an individual basis, to obtain meaningful and

effective redress for the wrongs done to them. Further, it is desirable to concentrate the litigation

of the class members’ claims in one forum, as it will conserve party and judicial resources and

facilitate the consistency of adjudications. Plaintiff knows of no difficulty that would be

encountered in the management of this case that would preclude its maintenance as a class action.




                                                  15

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 17 of 22
            Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 21 of 25




        63.      The class also may be certified because Defendants have acted or refused to act on

grounds applicable to the class, thereby making appropriate final declaratory and/or injunctive

relief with respect to the members of the class as a whole.

        64.      Plaintiff seeks preliminary and permanent injunctive and equitable relief on behalf

of the entire class, on grounds generally applicable to the entire class, to enjoin and prevent

defendant from engaging in the acts described above, such as continuing to market and sell

Products that lack efficacy and requiring Defendants to provide a full refund of the purchase price

of the Products to Plaintiff and class members.

        65.      Unless a class is certified, Defendants will retain monies received as a result of their

conduct that were taken from Plaintiff and the class members. Unless a class-wide injunction is

issued, Defendants will continue to commit the violations alleged and the members of the class

and the general public will continue to be misled. Indeed, to this day, Defendants continue to

market and sell the Products that have been determined by a unanimous FDA NDAC to lack

efficacy.

               COUNT I - Violation of the Missouri Merchandising Practices Act

        66.      Plaintiff incorporates herein by reference the allegations set forth above as though

fully set forth in this Count I.

        67.      Plaintiff brings this Count I on behalf of the Missouri subclasses against all

Defendants.

        68.      The acts and practices engaged in by Defendants, and described herein, constitute

unlawful, unfair and/or fraudulent business practices in violation of the Missouri Merchandising

Practices Act, R.S.Mo. § 407.010, et seq.

        69.      Defendant engaged in unlawful practices including deception, false promises,

misrepresentation, and/or the concealment, suppression, or omission of material facts in
                                                   16

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 18 of 22
           Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 22 of 25




connection with the sale, distribution or advertisement of the Products, in violation of R.S.Mo. §

407.020.

        70.      Plaintiff and the putative class members purchased the Products, a product that was

falsely represented, as stated above, in violation of the Missouri Merchandising Practices Act, and

as a result, Plaintiff and the putative class members suffered economic damages in that the product

purchased was worth less than the product they thought they had purchased had Defendants’

representations been true.

                                    COUNT II – Unjust Enrichment

        71.      Plaintiff incorporates herein by reference the allegations set forth above as though

fully set forth in this Count II.

        72.      Plaintiff brings this Count II on behalf of the nationwide classes against all

Defendants.

        73.      Plaintiff and the putative class members conferred a benefit upon the Defendants by

purchasing the Products.

        74.      Defendants appreciated and had knowledge of the benefit conferred upon them as

referenced above.

        75.      Defendants accepted and retained the benefit conferred upon them by Plaintiff and

the putative class members under such circumstances that acceptance and retention of the benefit

is not equitable without payment for the same to the Plaintiff and class.

        76.      As a direct and proximate result of the Defendants’ actions set forth above, the

Plaintiffs and the class members have suffered pecuniary damages resulting from the purchase of

the Products in an amount that has not yet been determined.

                             COUNT III—Breach of Implied Warranty



                                                  17

           Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 19 of 22
          Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 23 of 25




        77.      Plaintiff incorporates herein by reference the allegations set forth above as though

fully set forth in this Count III.

        78.      Plaintiff brings this Count III on behalf of the nationwide classes against all

Defendants.

        79.      At all times relevant all fifty States and the District of Columbia and Puerto Rico

have codified and adopted the provisions of the Uniform Commercial Code governing the implied

warranty of merchantability and fitness for ordinary purpose.16

        80.      Defendants were at all times a “merchant” within the meaning of Article 2 of the

U.C.C., as codified under applicable law.

        81.      The Products are and were “goods” within the meaning of Article 2 of the U.C.C.,

as codified under applicable law.

        82.      Defendants were obligated to provide Plaintiff and the other class members

Products that were of merchantable quality, were reasonably fit for the purpose for which they

were sold and conformed to the standards of the trade.

        83.      Defendants impliedly warranted that those drugs were of merchantable quality and

fit for that purpose.



16
  See e.g., Ala. Code § 7-2-314; Alaska Stat. § 45.02.314; Ariz. Rev. Stat. Ann. § 47-2314; Ark. Code.
Ann. § 4-2-314; Cal. Com. Code § 2314; Colo. Rev. Stat. § 4-2-314; Conn. Gen. Stat. Ann. § 42a-2-314; 6
Del. Code. § 2-314; D.C. Code. § 28:2-314; Fla. Stat. Ann. § 672.314; Ga. Code. Ann. § 11-2-314; Haw.
Rev. Stat. § 490:2-314; Idaho Code § 28-2-314; 810 Ill. Comp. Stat. Ann. 5/2-314; Kan. Stat. Ann. § 84-
2-314; Ky. Rev. Stat. Ann. § 355.2-314; La. Civ. Code Ann. Art. § 2520; 11 Me. Rev. Stat. Ann. § 2-314;
Md. Code. Ann. § 2-314; Mass. Gen. Law Ch. 106 § 2-314; Mich. Comp. Laws Ann. § 440.2314; Minn.
Stat. Ann. § 336.2-314; Miss. Code Ann. § 75- 2-314; Mo. Rev. Stat. § 400.2- 314; Mont. Code Ann. § 30-
2-314; Nev. Rev. Stat. U.C.C. § 104.2314; N.H. Rev. Ann. § 382- A:2-314; N.J. Stat. Ann. § 12A:2-314;
N.M. Stat. Ann. § 55-2- 314; N.Y. U.C.C. Law § 2-314; N.C. Gen. Stat. Ann. § 25-2-314; N.D. Stat. § 41-
02-314; Ohio Rev. Code Ann. § 1302.27; Okla. Stat. tit. 12A § 2-314; Or. Rev. Stat. § 72.3140; 13 Pa. C.S.
§ 2314; P.R. Laws. Ann. Tit. 31, § 3841, et seq.; R.I. Gen. Laws § 6A-2-314; S.C. Code Ann. § 36- 2-314;
S.D. Stat. § 57A-2-314; Tenn. Code Ann. § 47-2-314; Tex. Bus. & Com. Code Ann. § 2- 314; Utah Code
Ann. § 70A-2-314; Va. Code § 8.2-314; Vt. Stat. Ann. 9A § 2-314; W. Va. Code § 46-2-314; Wash. Rev.
Code § 62A 2-314; Wis. Stat. Ann. § 402.314 and Wyo. Stat. § 34.1-2-314.

                                                   18

         Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 20 of 22
            Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 24 of 25




          84.   Defendants breached their implied warranties, because their Products were not of

merchantable quality or fit for their ordinary purpose.

          85.   Defendants’ breaches of implied warranties were a direct and proximate cause of

Plaintiff’s and the other class members’ damages.

                          COUNT IV—Fraud by Omission/Concealment

          86.    Plaintiff incorporates herein by reference the allegations set forth above as though

fully set forth in this Count IV.

          87.   Plaintiff brings this Count IV on behalf of the nationwide classes against all

Defendants.

          88.   Defendants intentionally and knowingly falsely concealed, suppressed and/or

omitted material facts including as to the standard, quality or grade of the Products.

          89.   Due to Defendants’ fraudulent conduct, Plaintiffs and the other class members have

suffered actual damages.

          90.   Defendants knew that phenylephrine is ineffective at safe dosages when consumed

orally.

          91.   Defendants were obligated to inform Plaintiff and the other members of the class

of the effectiveness of phenylephrine due to their exclusive and superior knowledge of the

Products.

          92.   Plaintiffs and other class members also expressly reposed a trust and confidence in

Defendants because the nature of their dealings as a healthcare entity and with Plaintiffs and other

members of the class as their consumers.

          93.   Plaintiffs and the other class members would not have purchased the Products but

for Defendants’ omissions and concealment of material facts regarding the nature and quality of

the Products and existence of the Products, or would have paid less for the Products.
                                                 19

           Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 21 of 22
            Case MDL No. 3089 Document 233-8 Filed 10/25/23 Page 25 of 25




           94.    Defendants knew their concealment and suppression of material facts was false and

misleading and knew the effect of concealing those material facts.

           95.    Defendants acted with malice, oppression, and fraud.

           96.    Plaintiffs and the other class members reasonably relied on Defendants’ knowing,

affirmative, and active false concealment and omissions. As a direct and proximate result of

Defendants’ omissions and active concealment of material facts regarding the Products, Plaintiffs

and the other class members have suffered actual damages in an amount to be determined at trial.



                                     DEMAND FOR JURY TRIAL

           Plaintiff hereby demands a trial by jury as to all issues stated herein, and all issues so

triable.

           Dated: October 13, 2023

                                                Respectfully submitted,

                                                THE A.W. SMITH LAW FIRM, P.C.

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                                                   20

            Case 2:23-cv-04200-BCW Document 1 Filed 10/12/23 Page 22 of 22
